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RABINOWITZ, LUBETKIN & TULLY, LLC
293 Eisenhower Parkway, Suite 100
Livingston, N.J. 07039
(973) 597-9100
Jonathan I. Rabinowitz
John J. Harmon
jrabinowitz@rltlawfirm.com
jharmon@rltlawfirm.com
Local Counsel for Professor J. Maria Glover,
Proposed Amicus Curiae

                              UNITED STATES BANKRUPTCY COURT
                                   DISTRICT OF NEW JERSEY


In re:                                                Case No. 21-30589 (MBK)

LTL MANAGEMENT, LLC,                                  Chapter 11

                         Debtor.                      Hon. Michael B. Kaplan



                                    CERTIFICATION OF SERVICE

   1. I, Jennifer Coleman:

            represent the Chapter 7 Trustee in the above-captioned matter.

            I am the secretary/paralegal for Jonathan I. Rabinowitz, who represents J. Maria Glover, in the

         above captioned matter.

            am the _________________________ in the above case and am representing myself.


   2. On February 1, 2022, I caused a copy of the following pleadings and/or documents to be sent to

         the parties listed in the annexed chart via E-mail: (1) Order Shortening Time entered by the Court

         on February 1, 2022; (2) Application for Order Shortening Time; (3) Notice of Motion for Leave

         to File Amici Curiae Brief; (4) Certification in Support of Motion; (5) Memorandum of Law in

         Support of Motion; and (6) proposed form of Order.
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   3. I certify under penalty of perjury that the above documents were sent using the mode of service

       indicated.

Dated: February 1, 2022                        /s/ Jennifer Coleman
                                          JENNIFER COLEMAN
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                                         NOTICE OF APPEARANCE
                                          E‐MAIL SERVICE LIST

Party                                              EMAIL
John R. Miller, Jr., Esq.                          rrayburn@rcdlaw.net
C. Richard Rayburn, Jr., Esq.                      jmiller@rcdlaw.net
RAYBURN COOPER & DURHAM, P.A.
Counsel for Debtor
Caitlin K. Cahow, Esq.                             ccahow@jonesday.com
Brad B. Erens, Esq.                                bberens@jonesday.com
Gregory M. Gordon, Esq.                            gmgordon@jonesday.com
Daniel B. Prieto, Esq.                             dbprieto@jonesday.com
Amanda Rush, Esq.                                  asrush@jonesday.com
Robert W. Hamilton, Esq.                           rwhamilton@jonesday.com
James M. Jones, Esq.                               jmjones@jonesday.com
JONES DAY                                          iperez@jonesday.com
Brad Jeffrey Axelrod                               baxelrod@wmdlaw.com
Paul R. DeFilippo                                  pdefilippo@wmd‐law.com
James. N. Lawlor                                   jlawlor@wmd‐law.com
Kathleen A. Frazier                                kfrazier@shb.com
Joseph Francis Pacelli                             jpacelli@wmd‐law.com
Mark W. Rasmussen                                  mrasmussen@jonesday.com
Matthew Tomsic                                     mtomsic@rcdlaw.net
Co‐Counsel for Debtor
Glenn M. Kurtz, Esq.                               gkurtz@whitecase.com
Jessica Lauria, Esq.                               Jessica.boelter@whitecase.com
WHITE & CASE LLP
Co‐Counsel for Debtor
Kristen R. Fournier, Esq.                          kfournier@kslaw.com
KING & SPALDING LLP.
Co‐Counsel for Debtor
Hillary B. Crabtree                                hillarycrabtree@mvalaw.com
MOORE & VAN ALLEN PLLC
Counsel to Johnson & Johnson and Johnson &
Johnson Consumer Inc.
RACHEL R. OBALDO Asst. Attorney General Chief      rachel.obaldo@oag.texas.gov
JASON B. BINFORD                                   jason.binford@oag.texas.gov
LAYLA D. MILLIGAN                                  layla.milligan@oag.texas.gov
Office of the Attorney General of Texas
Attorneys for the State of Texas
Ashley A. Edwards, Esq.                            ashleyedwards@parkerpoe.com
Parker Poe Adams & Bernstein LLP
Attorney for The Continental Insurance Company
James H. Henderson                                 henderson@title11.com
THE HENDERSON LAW FIRM
Attorneys for Blue Cross Blue Shield Association
Melanie L. Cyganowski                              mcyganowski@otterbourg.com
John Bourgiamas                                    jbougiamas@otterbourg.com
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Adam Silverstein                                      asilverstein@otterbourg.com
Otterbourg P.C.
Counsel for the Committee
John C. Woodman, Esq.                                 jwoodman@essexrichards.com
ESSEX RICHARDS P.C.
Local Counsel for Claimants represented by
Kazan McClain
John A. Northen, Esq.                                 vlp@nbfirm.com
Vicki L. Parrott, Esq,                                jpc@nbfirm.com
John Paul H. Cournoyer, Esq.
Northen Blue, LLP
Counsel for Cyprus Mines Corporation and
Cyprus Amax Minerals Company
Shaya Rochester, Esq.                                 shaya.rochester@katten.com
Katherine A. Scherling, Esq.                          katherine.scherling@katten.com
Kelsey R. Panizzolo, Esq.                             kelsey.panizzolo@katten.com
KATTEN MUCHIN ROSENMAN LLP
and
Eileen T. McCabe, Esq.                                eileen.mccabe@mendes.com
Stephen T. Roberts, Esq.                              stephen.roberts@mendes.com
MENDES & MOUNT LLP
and‐
Louis A. Modugno, Esq.                                lmodugno@tm‐firm.com
TRIF & MODUGNO LLC
Counsel to Atlanta International Insurance
Company (as successor in interest to Drake
Insurance Company); AIG Property Casualty
Company (f/k/a Birmingham Fire Insurance
Company of Pennsylvania); AIG Europe S.A. (as
successor in interest to Union Atlantique
d’Assurances S.A); AIU Insurance Company; ASR
Schadeverzekering N.V. (as successor in interest to
Assurantiekoor Van Wijk & Co.); Granite State
Insurance Company; The Insurance Company of
the State of Pennsylvania; Lexington Insurance
Company; National Union Fire Insurance Company
of Pittsburgh, Pa.; New Hampshire Insurance
Company; The North River Insurance Company;
Starr Indemnity & Liability Company (as successor
in interest to Republic Insurance Company); N.V.
Schadeverzekeringsmaatschappij Maas Lloyd
(individually and as successor in interest to
policies subscribed in favor of Johnson & Johnson
by N.V. Rotterdamse Assurantiekas, n/k/a De
Ark).; and RheinLand Versicherungen (as
successor in interest only to the subscriptions of
the former Dutch company Rheinland
Verzekeringen) (collectively, the “New Jersey
Action Insurers”)
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Chelsea Corey, Esq.                                  ccorey@kslaw.com
KING & SPALDING LLP                                  dschneider@kslaw.com
Richard A. Schneider, Esq.         (pro hac vice
application pending)
Attorneys for Bestwall LLC
Christine L. Myatt, Esq.                             cmyatt@nexsenpruet.com
Harris M. Watkins, Esq.                              mwatkins@nexsenpruet.com
NEXSEN PRUET, PLLC
Local counsel for Rio Tinto America Inc. and Three
Crowns Insurance Company
Robert W. Miller, Esq.                               rmiller@manierherod.com
Manier & Herod, P.C.
Counsel for Westchester Fire Insurance Company
Sandeep Qusba, Esq.                                  squsba@stblaw.com
Craig S. Waldman, Esq.                               cwaldman@stblaw.com
Jamie J. Fell, Esq.                                  jamie.fell@stblaw.com
Zachary J. Weiner, Esq.                              zachary.weiner@stblaw.com
Katherine A. McLendon, Esq.                          kmclendon@stblaw.com
Jonathan T. Menitove, Esq.                           jonathan.menitove@stblaw.com
Michael Torkin, Esq.                                 Michael.torkin@stblaw.com
SIMPSON THACHER & BARTLETT LLP
Counsel to Bausch Health US, LLC f/k/a Valeant
Pharmaceuticals North America LLC, Bausch
Health      Americas,     Inc.   f/k/a     Valeant
Pharmaceuticals International, and Bausch Health
Companies Inc. f/k/a Valeant Pharmaceuticals
International, Inc. and all of their affiliates
(collectively, “Bausch Health”)
RACHEL R. OBALDO, Esq.                               rachel.obaldo@oag.texas.gov
AUTUMN D. HIGHSMITH, Esq.                            autumn.highsmith@oag.texas.gov
Office of the Attorney General of Texas
Bankruptcy & Collections Division
Counsel for the State of Texas
Derek Baker, Esq.                                    dbaker@reedsmith.com
REED SMITH LLP                                       psinger@reedsmith.com
Princeton, NJ                                        jangelo@reedsmith.com
Paul M. Singer, Esq.                                 lsizemore@reedsmith.com
Luke A. Sizemore, Esq.
REED SMITH LLP
Pittsburgh, PA
Jason D. Angelo, Esq.
REED SMITH LLP
Wilmington, DE
Counsel to Cyprus Mines Corporation
Richard S. Wright, Esq.                              rwright@mwhattorneys.com
Andrew T. Houston, Esq.                              ahouston@mwhattorneys.com
Caleb Brown, Esq.                                    cbrown@mwhattorneys.com
Moon Wright & Houston, PLLC
Case 21-30589-MBK           Doc 1329 Filed 02/01/22 Entered 02/01/22 12:40:55              Desc Main
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Counsel to The Law Firm of Arnold & Itkin LLP
(“Arnold & Itkin”), on behalf of certain personal
injury claimants represented by Arnold & Itkin (the
“Arnold & Itkin Plaintiffs”)
Judy D. Thompson, Esq.                                jdt@jdthompsonlaw.com
JD Thompson Law
Counsel to the Barnes Law Group (BLG Plaintiffs)
Paul R. Baynard, Esq.                                 Paul.Baynard@offitkurman.com
Paul J. Winterhalter, Esq.                            pwinterhalter@offitkurman.com
OFFIT KURMAN, P.A.                                    mtuchin@ktbslaw.com
and‐                                                  rpfister@ktbslaw.com
Michael L. Tuchin, Esq.                               skidder@ktbslaw.com
Robert J. Pfister, Esq.                               nmaoz@ktbslaw.com
Samuel M. Kidder, Esq.
Nir Maoz, Esq.
KTBS LAW LLP
Counsel to Aylstock, Witkin, Kreis & Overholtz,
PLLC (“AWKO”)
James C. White, Esq.                                  jwhite@jcwhitelaw.com
Attorney for OnderLaw, LLC
Andrew S. Golden, Esq.                                Agolden@kasowitz.com
Robert M. Novick, Esq.                                Rnovick@kasowitz.com
David S. Rosner, Esq.                                 Drosner@kasowitz.com
Michael E. Hutchins, Esq.                             Mhutchins@kasowitz.com
Kasowitz Benson Torres LLP
Counsel for Cyprus Mines Corporation
Lenard M. Parkins, Esq.                               lparkins@parkinslee.com
Parkins Lee & Rubio LLP
Counsel to OnderLaw, LLC
Robert A. Mays, Esq.                                  rmays@maysjohnsonlaw.com
MAYS JOHNSON LAW FIRM
Local Counsel to Allstate Insurance Company, as
successor in interest to Northbrook Excess &
Surplus Insurance Company, formerly Northbrook
Insurance Company (“Allstate”)
Deborah L. Fletcher, Esq.                             deborah.fletcher@fisherbroyles.com
FISHERBROYLES LLP                                     afrankel@stblaw.com
‐and‐                                                 kmclendon@stblaw.com
Andrew T. Frankel, Esq.                               jonathan.menitove@stblaw.com
Kathrine A. McLendon, Esq.                            Michael.torkin@stblaw.com
Jonathan T. Menitove, Esq.
Michael H. Torkin, Esq. (pro hac vice pending)
SIMPSON THACHER & BARTLETT LLP
Counsel for Travelers Casualty and Surety
Company (f/k/a The Aetna Casualty and Surety
Company)
Stacy C. Cordes, Esq.                                 stacy@cordes‐law.com
Meghan A. Van Vynckt, Esq.                            meghan@cordes‐law.com
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Cordes Law, PLLC
Counsel to Blue Cross Blue Shield of
Massachusetts, Inc.
Daniel H. Charest, Esq.                                dcharest@burnscharest.com
BURNS CHAREST LLP
Counsel for Plaintiffs’ Steering Committee in the In
r Johnson & Johnson Talcum Powder Products
Marketing, Sales Practices and Products Liability
MultiDistrict Litigation
Law Offices of R. Keith Johnson, P.A.                  kjparalegal@bellsouth.net
‐and‐                                                  rgolomb@GolombLegal.Com
Richard M. Golomb, Esq.
Golomb Spirt Grunfeld
Counsel to Linda Rabasca and Brandi Carl
Jeffrey M. Sponder, Esq.                               lauren.bielskie@usdoj.gov
Lauren Bielskie, Esq.                                  Jeffrey.m.sponder@usdoj.gov
Mitchell B. Hausman, Esq.                              Mitchell.b.hausman@usdoj.gov
Office of the US Trustee
Gregory Gennady Plotko Esq.                            gplotko@crowell.com
CROWELL & MORING LLP (NYC)                             mplevin@crowell.com
‐AND‐                                                  kcacabelos@crowell.com
Mark D. Plevin, Esq.                                   tyoon@crowell.com
Kevin D. Cacabelos, Esq.                               rjankowski@crowell.com
CROWELL & MORING LLP (San Francisco)                   aidan.mccormack@dlapiper.com
‐AND‐                                                  brian.seibert@diapiper.com
Tacie H. Yoon, Esq.
Rachel Jankowski, Esq.
CROWELL & MORING LLP (DC)
‐AND‐
 Aidan McCormack, Esq.
R. Brian Seibert
DLA PIPER LLP (US)
Counsel to Century Indemnity Company, Federal
Insurance Company, Central National Insurance
Company of Omaha and ACE Property and
Casualty Insurance Company (f/k/a CIGNA
Property & Casualty Insurance Company), Great
Northern Insurance Company, Pacific Employers
Insurance Company, and Westchester Fire
Insurance Company
Leslie C. Heilman, Esq.                                daluzt@ballardspahr.com
Tobey M. Daluz, Esq.                                   heilmanl@ballardspahr.com
Laurel D. Roglen, Esq.                                 roglenl@ballardspahr.com
BALLARD SPAHR LLP
Counsel for Albertsons Companies, Inc.
Brian W. Hofmeister, Esq.                              bwh@hofmeisterfirm.com
LAW FIRM OF BRIAN W. HOFMEISTER, LLC
Local counsel for various claimants
Case 21-30589-MBK           Doc 1329 Filed 02/01/22 Entered 02/01/22 12:40:55                Desc Main
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Simon J. Torres Esq.                                  torres.simon@pbgc.gov
Carolyn J. Lachman, Esq.                              efile@pbgc.gov
Sarah Meiman, Esq.                                    lachman.carolyn@pbgc.gov
Pension Benefit Guaranty Corporation                  meiman.sarah@pbgc.gov
Office of the General Counsel
Counsel for Pension Benefit Guaranty Corporation
(“PBGC”)

Eamon O’Hagan, Esq.                                   eamonn.ohagan@usdoj.gov
Local Counsel Pension Benefit Guaranty
Corporation
Christopher K. Kiplok, Esq.                           chris.kiplok@hugheshubbard.com
William J. Beausoleil, Esq.                           william.beausoleil@hugheshubbard.com
Erin E. Diers, Esq.                                   erin.diers@hugheshubbard.com
Hughes Hubbard & Reed LLP
Counsel to counsel to Imerys SA
Charles W. Branham, III, Esq.                         tbranham@dobslegal.com
J. Bradley Smith, Esq.                                bsmith@dobslegal.com
Dean Omar Branham Shirley, LLC                        bgraham@wallacegraham.com
‐and‐
William M. Graham, Esq
WALLACE & GRAHAM PA
Proposed Co‐Counsel for Dean Omar Branham
Shirley, LLP
Albert Togut, Esq.                                    altogut@teamtogut.com
Frank A. Oswald, Esq.                                 frankoswald@teamtogut.com
Brian F. Shaughnessy, Esq.                            bshaughnessy@teamtogut.com
TOGUT, SEGAL & SEGAL LLP
Counsel to counsel for Roger Frankel, as Legal
Representative for Future Personal Injury
Claimants appointed in the Chapter 11 bankruptcy
case of Cyprus Mines Corporation, Case No. 21‐
10398‐LSS (Bankr. D. Del)
Lance P. Martin, Esq.                                 LPM@wardandsmith.com
Paul A. Fanning, Esq.                                 PAF@wardandsmith.com
Norman J. Leonard, Esq.                               NJL@wardandsmith.com
Ward and Smith, P.A.
Counsel to Atlanta International Insurance
Company (as successor in interest to Drake
Insurance Company); AIG Europe S.A. (as
successor in interest to Union Atlantique d'
Assurances S.A.); AIG Property Casualty Company
(f/k/a Birmingham Fire Insurance Company of
Pennsylvania); AIU Insurance Company; ASR
Schadeverzekering N.V. (as successor in interest to
Assurantiekoor Van Wijk & Co.); Granite State
Insurance Company; the Insurance Company of
the State of Pennsylvania; Lexington Insurance
Company; N.V. De Ark (f/k/a N.V. Rotterdamse
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Assurantiekas);                               N.V.
Schadeverzekeringsmaatschappij Maas Lloyd;
National Union Fire Insurance Company of
Pittsburgh, PA; New Hampshire Insurance
Company;       Rheinland     Versicherungen    (as
successor in interest only to the subscriptions of
the former Dutch company Rheinland
Verzekeringen); and Starr Indemnity & Liability
Company (as successor in interest to Republic
Insurance Company) (collectively, the "Insurance
Companies")
Janet A. Shapiro, Esq.                               jshapiro@shapirolawfirm.com
The Shapiro Law Firm
Counsel for Employers Ins. Company of Wausau,
Employers Ins. of Wausau, Employers Mutual
Casualty Company, Nationwide Indemnity, and
Scottsdale Insurance
Jeffrey E. Bjork, Esq.                               jeff.bjork@lw.com
Kimberly A. Posin, Esq.                              kim.posin@lw.com
Amy C. Quartarolo, Esq.                              amy.quartarolo@lw.com
Adam S. Ravin, Esq.                                  asr@blancolaw.com
LATHAM & WATKINS LLP                                 adam.ravin@lw.com
‐and‐
Ashley S. Rusher, Esq.
BLANCO TACKABERY & MATAMOROS, P.A.
Counsel for Imerys Talc America, Inc., Imerys Talc
Vermont, Inc., and Imerys Talc Canada Inc.
Christopher D. Layton, Esq.                          chris@thelaytonlawfirm.com
The Layton Law Firm, PLLC
Counsel to Williams Hart Boundas Easterby, LLP,
on behalf of certain personal injury claimants
(“Williams Hart Plaintiffs”)
Brian A. Glasser, Esq.                               bglasser@baileyglasser.com
Kevin W. Barrett,Esq.                                kbarrett@baileyglasser.com
Thomas B. Bennett, Esq.                              tbennett@baileyglasser.com
Maggie B. Burrus,Esq.                                mburrus@baileyglasser.com
Cary Joshi, Esq.                                     cjoshi@baileyglasser.com
BAILEY GLASSER LLP
Proposed Co‐Counsel for the Official Committee of
Talc Claimants
Susan Sieger‐Grimm, Esq.                             ssieger‐grimm@brownrudnick.com
David Molton, Esq.                                   dmolton@brownrudnick.com
BROWN RUDNICK LLP                                    sbeville@brownrudnick.com
‐and‐                                                jjonas@brownrudnick.com
Sunni P. Beville, Esq.
Jeffrey L. Jonas, Esq.
BROWN RUDNICK LLP (Boston)
Proposed Co‐Counsel for the Official Committee of
Talc Claimants
Case 21-30589-MBK           Doc 1329 Filed 02/01/22 Entered 02/01/22 12:40:55      Desc Main
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Melanie L. Cyganowski, Esq.                          mcyganowski@otterbourg.com
John Bourgiamas, Esq.                                jbougiamas@otterbourg.com
Adam Silverstein, Esq.                               asilverstein@otterbourg.com
Jennifer S. Feeney, Esq.                             jfeeney@otterbourg.com
Michael R. Maizel, Esq.                              mmaizel@otterbourg.com
Otterbourg P.C.
Proposed Co‐Counsel for the Official Committee of
Talc Claimants and Counsel for the Plaintiffs’
Steering Committee in the In r Johnson & Johnson
Talcum Powder Products Marketing, Sales
Practices and Products Liability Multi‐District
Litigation (MDL No. 2738)
Nabil Majed Nachawati, II, Esq.                      MN@fnlawfirm.com
Darren P. McDowell, Esq.                             dmcdowell@fnlawfirm.com
Fears Nachawati Law Firm
Associated with Brian Hofmeister
Counsel to Various Claimants
Christopher M. Placitella, Esq.                      dgeier@cprlaw.com
Dennis M. Geier, Esq.
Cohen, Placitella & Roth, P.C.
Counsel to Mesothelioma and Ovarian Cancer
Plaintiffs Represented by Cohen, Placitella & Roth
P.C.
Jonathan Standish Massey, Esq.                       jmassey@masseygail.com
MASSEY & GAIL LLP (DC)                               rmorse@masseygail.com
Rachel Morse, Esq.
MASSEY & GAIL LLP (Chicago)
Proposed Co‐Counsel for the Official Committee of
Talc Claimants
Stephen V. Gimigliano, Esq.                          sgimigliano@lawgmm.com
John Maloney, Esq.                                   jmaloney@lawgmm.com
Robin Rabinowitz, Esq.                               rrabinowitz@lawgmm.com
GIMIGLIANO MAURIELLO & MALONEY
Attorneys for Travelers Casualty and Surety
Company
(f/k/a The Aetna Casualty and Surety Company)
Alan J. Brody, Esq.                                  brodya@gtlaw.com
GREENBERG TRAURIG, LLP
Counsel for Bausch Health US, LLC f/k/a Valeant
Pharmaceuticals North America LLC, Bausch
Health      Americas,     Inc.   f/k/a     Valeant
Pharmaceuticals International, and Bausch Health
Companies Inc. f/k/a Valeant Pharmaceuticals
International, Inc. and all of their affiliates
(collectively, “Bausch Health”)
Donald W. Clarke, Esquire                            dclarke@genovaburns.com
Daniel Stolz, Esquire                                dstolz@genovaburns.com
 Counsel for Committee of Talc Claimants
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David J. Molton, Esquire                          dmolton@brownrudnick.com
Andrew J. Kelly, Esq.                             akelly@kbtlaw.com
The Kelly Firm, P.C.
Local counsel for Blue Cross Blue Shield of
Massachusetts
Mitchell Malzberg, Esq.                           mmalzberg@mjmalzberglaw.com
Law Offices of Mitchell J. Malzberg LLC
Local Counsel to Various Claimants
John M. August, Esq.                              jaugust@saiber.com
Marc E. Wolin, Esq.                               mwolin@saiber.com
Saiber LLC
Local Counsel for Kristie Lynn Doyle, Member of
the Official Committee of Talc Claimants
James N. Lawlor, Esq.                             jlawlor@wmd‐law.com
Paul R. DeFilippo, Esq.                           pdefilippo@wmd‐law.com
Brad J. Axelrod, Esq.                             baxelrod@wmd‐law.com
Lyndon M. Tretter, Esq.                           ltretter@wmd‐law.com
Joseph F. Pacelli, Esq.                           jpacelli@wmd‐law.com
Wollmuth Maher & Deutsch, LLP
Proposed Co‐Counsel for LTL Management LLC
Sommer L. Ross, Esq.                              SLRoss@duanemorris.com
Philip R. Matthews, Esq.                          PRMatthews@duanemorris.com
Duane Morris LLP
Counsel for Republic Indemnity Company of
America
Daniel R. Lapinski, Esq.                          dlapinski@motleyrice.com
Motley Rice LLC
Counsel for Mesothelioma and Ovarian Cancer
Plaintiffs
HALPERIN BATTAGLIA BENZIJA, LLP                   ahalperin@halperinlaw.net
Alan D. Halperin, Esq.                            dlieberman@halperinlaw.net
Donna H. Lieberman, Esq.                          wbenzija@halperinlaw.net
Walter Benzija
Co‐Counsel to The Blue Cross Blue Shield
Association
RAWLINGS & ASSOCIATES                             mdf@rawlingsandassociates.com
Mark D. Fischer, Esq.
Co‐Counsel to The Blue Cross Blue Shield
Association
LOWENSTEIN SANDLER LLP                            krosen@lowenstein.com
Kenneth A. Rosen, Esq.                            mseymour@lowenstein.com
Mary E. Seymour, Esq.
Co‐Counsel to Johnson & Johnson and Johnson &
Johnson Consumer Inc.
PRYOR CASHMAN LLP                                 slieberman@pryorcashman.com
Seth H. Lieberman, Esq.                           arichmond@pryorcashman.com
Andrew S. Richmond, Esq.
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Counsel to Williams Hart Boundas Easterby, LLP,
on Behalf of Certain Personal Injury Claimants
Lisa M. Morgan, Esq.                                 lnorman@andrewsmyers.com
Andrews Myers, P.C.
Counsel to Williams Hart Boundas Easterby, LLP,
on Behalf of Certain Personal Injury Claimants
(“Williams Hart Plaintiffs”)
COLE SCHOTZ P.C.                                     fyudkin@coleschotz.com
Felice R. Yudkin, Esq.                               mtsukerman@coleschotz.com
Mark Tsukerman, Esq.
Counsel for Claimants Represented by the Barnes
Law Group
GREENBAUM, ROWE, SMITH & DAVIS LLP                   nisaacson@greenbaumlaw.com
Nancy Isaacson, Esq.
Local Counsel for Motley Rice LLC
Steven M. Abramowitz, Esq.                           sabramowitz@velaw.com
VINSON & ELKINS LLP
Counsel for Cyprus Amax Minerals Company
(“CAMC”)
STEPHEN M. PACKMAN, Esq.                             spackman@archerlaw.com
ARCHER & GREINER
Local Counsel for Roger Frankel, as the Future
Claimants’ Representative in the Cyprus Mines
Chapter 11 Case
PACHULSKI STANG ZIEHL & JONES LLP                    ljones@pszjlaw.com
Laura Davis Jones, Esq.                              kdine@pszjlaw.com
Karen B. Dine, Esq.                                  crobinson@pszjlaw.com
Colin R. Robinson, Esq.                              pkeane@pszjlaw.com
Peter J. Keane, Esq.
Counsel to Arnold & Itkin LLP
Brian J. McCormick, Jr., Esq.                        bmccormick@rossfellercasey.com
Ross Feller Casey LLP
Counsel for Multiple Talc Claimants
Laila Masud, Esq.                                    lmasud@marshackhays.com
Marshack Hays LLP
Counsel for Various Talc Claimants
Rachel Parisi, Esq.                                  rparisi@pbnlaw.com
Porzio, Bromberg & Newman, P.C.                      kdcurtin@pbnlaw.com
Local Counsel for Rio Tinto America Holdings Inc.,
Rio Tinto America Inc., Rio Tinto Services Inc.,
Three Crowns Insurance Company (formerly Three
Crowns Insurance Company Limited), and Metals
& Minerals Insurance Company Pte. Ltd.
Charles S. Schalk, Esq.                              schalk@centraljerseylaw.com
John F. Bracaglia, Jr., Esq.                         brokaw@centraljerseylaw.com
SAVO, SCHALK, Gillespie, O’Grodnick & Fisher, P.A.
Brett D. Kahn, Esq.                                  bkahn@mccarter.com
Thomas W. Ladd, Esq.                                 tladd@mccarter.com
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McCARTER & ENGLISH LLP
Attorneys for Creditor, Jeanne Stephenson
Carol Ann Slocum, Esq.                              cslocum@klehr.com
Morton Branzburg, Esq.                              mbranzburg@klehr.com
Klehr Harrison Harvey Branzburg, LLP
Counsel for Ad Hoc Mesothelioma Committee
Andreas D. Milliaressis, Esq.                       Andreas.milliaressis@stevenslee.com
STEVENS & LEE, P.C.                                 joseph.huston@stevenslee.com
Joseph H. Huston, Jr., Esq.
Attorney for Hartford Accident and Indemnity
Company and First State Insurance Company
Konrad R. Krebs, Esq.                               clinton.cameron@clydeco.us
Clinton E. Cameron, Esq.                            meghan.dalton@clydeco.us
Meghan Dalton, Esq.                                 dchristian@dca.law
CLYDE & CO US LLP
David Christian, Esq. (pro hac vice pending)
DAVID CHRISTIAN ATTORNEYS LLC
Attorneys for The Continental Insurance
Company, as successor in interest to Harbor
Insurance Company and London Guarantee and
Accident Company of New York
Arthur J. Abramowitz, Esq.                          aabramowitz@shermansilverstein.com
Alan I. Moldoff, Esq.                               amoldoff@shermansilverstein.com
Ross J. Switkes, Esq.                               rswitkes@shermansilverstein.com
Sherman, Silverstein, Kohl, Rose & Podolsky, P.A.
Local Counsel to Official Committee of Talc
Claimants II
Evan M. Lazerowitz, Esq.                            elazerowitz@cooley.com
Cullen Speckhart, Esq.                              cspeckhart@cooley.com
COOLEY LLP
Proposed Co‐Counsel to Official Committee of Talc
Claimants II
Heather Simpson, Esq.                               heather.simpson@kennedyslaw.com
Kennedys CMK LLP
Attorneys for Everest Reinsurance Company and
TIG Insurance Company
Joshua D. Weinberg (admitted pro hac vice)          jweinberg@ruggerilaw.com
Joshua P. Mayer (admitted pro hac vice)             jmayer@ruggerilaw.com
RUGGERI PARKS WEINBERG LLP
Attorney for Hartford Accident and Indemnity
Company and First State Insurance Company
Jerome H. Block, Esq.                               jblock@levylaw.com
Levy Konigsberg, LLP
Attorneys for Talc Committee Claimant Randy
Derouen
Andrew K. Craig, Esq.                               acraig@windelsmarx.com
Stefano V. Calogero, Esq.                           scalogero@windelsmarx.com
WINDELS MARX LANE & MITTENDORF, LLP
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 Attorneys for Allstate Insurance Company, solely
 as successor in interest to Northbrook Excess &
 Surplus Insurance Company, formerly Northbrook
 Insurance Company
 Genova Burns LLC                                  dstolz@genovaburns.com
 Daniel M. Stolz                                   dclarke@genovaburns.com
 Donald W. CLarke
 Counsel to Official Committee of Talc Claimants I

 Anthony Sodono,III, Esq.                     asodono@msbnj.com
 Sari B. Placona, Esq.                        splacona@msbnj.com
 McMANIMON, SCOTLAND & BAUMANN, LLC
 Proposed Local Counsel for Alishia Landrum,
 Committee Member
 Thomas A. Pitta, Esq.                        tpitta@emmetmarvin.com
 Emmet, Marvin & Martin LLP
 Counsel to PTI Union LLC and PTI Royston LLC

 HERRICK, FEINSTEIN LLP                         ssmith@herrick.com
 Steven B. Smith, Esq.                          rginzburg@herrick.com
 Rachel H. Ginzburg, Esq.
 Counsel to the Amici Professors

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